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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
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NAZILA RAD

                                   Plaintiff,                               COMPLAINT

                 -against-                                                  Dkt. No.


COGNIZANT TECHNOLOGY SOLUTIONS INC.,

                                   Defendant.

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        Plaintiff Nazila Rad, by her attorneys Giskan Solotaroff & Anderson LLP, for her

complaint against Defendant Cognizant Technology Solutions Inc. (“Cognizant”), alleges as

follows:

                                           Preliminary Statement

        1.       This is an action for sex discrimination and retaliation in violation of Title VII of

the Civil Rights Act of 1964.

        2.       Ms. Rad worked as a senior executive for Defendant Cognizant from 2014 until

her termination in 2018. Despite an extremely strong record of success, Ms. Rad was harassed

and discriminated against based on her sex. After complaining about the discrimination, Ms. Rad

was terminated based on trumped up and pre-textual allegations while male employees who
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engaged in similar conduct and who had not complained about discrimination were treated far

more favorably.


                                          THE PARTIES

        3.      Plaintiff Rad is a female of Iranian national origin who lives in Atlanta, Georgia.

        4.      Defendant Cognizant Technology Solutions is a corporation organized under the

laws of Delaware with its principal place of business in Teaneck, New Jersey.

                                 VENUE AND JURISDICTION

        5.      This Court has jurisdiction over Ms. Rad’s Title VII claim pursuant to 28 U.S.C. §

1343 and § 1331. Ms. Rad filed a complaint with the Equal Employment Opportunity

Commission (“EEOC”) on or about July 17, 2018. The EEOC issued a right to sue letter,

attached hereto as Exhibit A, on January 24, 2020.

        6.      Venue is properly before this Court pursuant to 28 U.S.C. § 1391 as Defendant

resides in this District.

        7.      This Court has personal jurisdiction over Defendants because their principal place

of business is in New Jersey.

                                              FACTS

        8.      Ms. Rad is a 55 year-old woman of Iranian national origin.

        9.      After a long and successful career in technology sales, Ms. Rad was hired by

Cognizant in December 2014 to lead Cognizant’s sales efforts in its Retail, Consumer Goods,

and Travel and Hospitality unit (“RCGTH”).

        10.     By 2017, Ms. Rad had become extremely successful, bringing in deals valued at

over $100 million including deals with Ralph Lauren Corporation, Tory Burch, General Mills


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and Alex and Ani. Ms. Rad was also was able to open doors for Cognizant with clients like

MGM, SC Johnson and Signet. In 2017, Ms. Rad was named to Cognizant’s Presidents Club.

       11.     Despite Ms. Rad’s success, she was subjected to a discriminatory and hostile

work environment by her direct supervisor, Patrick Burke. Ms. Rad was Mr. Burke’s only female

direct report and he discriminated against her by providing the men who reported to him

significantly greater support, significantly greater attention and many more sales leads than he

provided to Ms. Rad.

       12.     In addition, Mr. Burke was far more negative with Ms. Rad than with his male

direct reports, reprimanding her and writing her up for small issues while ignoring similar

conduct on the part of her male colleagues. Mr. Burke also attempted to take valuable sales leads

from Ms. Rad such as Signet, and assign them to her male colleagues.

       13.     In November 2017, Ms. Rad met with Ajay Bhutoria, the Vice President of the

RCGTH business unit, to complain about Mr. Burke’s discriminatory conduct and to request a

transfer to another group. Mr. Bhutoria stated that he would consider Ms. Rad’s request but

failed to take any action to stop Mr. Burke’s harassment and discrimination against her.

       14.     Despite Mr. Burke’s harassment and hostility, Ms. Rad continued her strong

performance. In early 2018 Ms. Rad brought in a deal from Alex and Ani Jewelry for $3.5

million as well as an initially small, but potentially much larger, project from a Canadian

company, BCLDB. As a result of Ms. Rad’s solid relationships, she had made major progress

toward landing a potentially more than $200 million deal from Signet.

       15.     Yet, on February 12, 2018, Cognizant terminated Ms. Rad’s employment,

allegedly for misuse of her expense account.



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       16.     There is a strong reason to believe that this reason for Ms. Rad’s termination is

completely pre-textual. First, Ms. Rad traveled constantly for work, covering the United States

and Canada and incurred significant expenses on a regular basis. Ms. Rad was careful in dealing

with her expense account and when issues occasionally arose, she was always able to explain and

justify the expenditures.

       17.     Indeed, on the single occasion when Ms. Rad was questioned about her expenses

three weeks before her termination, she was able to provide valid explanations for every issue.

To the extent Ms. Rad had mistakenly charged personal expenses to her expense account on a

small number of occasions, Ms. Rad provided credible explanations for how the mistake

happened.

       18.      When Ms. Rad was terminated, Jill Brahm, the HR staffer who informed her

about the termination, inexplicably refused to provide any details of the alleged expense account

misuse that was the basis of the termination. This suggests that Cognizant did not want to

provide Ms. Rad with the opportunity to explain the alleged issues because the company was

concerned that she would be able to corroborate the expenditures and rebut the basis for the

termination.

       19.     Moreover, Ms. Rad’s male supervisors scrupulously reviewed her expenditures.

To the extent that there were discrepancies with the expenses, the male supervisors should have

been investigated and disciplined. Yet this did not apparently happen.

       20.      Moreover, when male employees have questionable or even improper

expenditures, Cognizant permits them multiple opportunities to explain and justify the

expenditures and are only rarely disciplined or terminated. Two male employees who were

treated far more favorably than Ms. Rad were Rathindra Ghosh and Prakash Narayan.

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       21.      Based on all of these factors, it appears that Cognizant terminated Ms. Rad for

discriminatory and or retaliatory (based on her November 2017 complaint to Mr. Bhutoria)

reasons.

       22.     Moreover, there is evidence that women are systematically discriminated against

at Cognizant. The company’s employees were overwhelmingly male, especially at Ms. Rad’s

level. Indeed, Ms. Rad was the only woman at her level in a client-facing role responsible for

business development in the entire RCGTH Business Unit.

                                 FIRST CLAIM FOR RELIEF
                           (Sexual Harassment in Violation of Title VII)

       23.     Plaintiff repeats and re-alleges the allegations contained in the preceding

paragraphs above as if fully set forth herein.

       24.     Defendant discriminated against Plaintiff in the terms and conditions of her

employment, based on her sex, in violation of Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000e.


                                SECOND CLAIM FOR RELIEF
                               (Retaliation in Violation of Title VII)

       25.     Plaintiff repeats and re-alleges the allegations contained in the preceding

paragraphs above as if fully set forth herein.

       26.     Defendant retaliated against Plaintiff in the terms and conditions of her

employment, based on her opposition to sex discrimination, in violation of Title VII of the Civil

Rights Act of 1964, 42 U.S.C. § 2000e.


WHEREFORE, Plaintiff demands judgment:



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         1.      Reinstating Plaintiff’s employment and upon reinstatement, enjoining Defendant

                 from harassing Plaintiff on the basis of her sex, in the terms and conditions of her

                 employment;

         2.      Awarding Plaintiff back pay;

         3.      Awarding Plaintiff compensatory damages, including but not limited to damages

                 for emotional distress;

         4.      Awarding Plaintiff punitive damages;

         5.      Awarding reasonable attorneys’ fees, costs, and expenses, and


         Granting such other legal and equitable relief to the Plaintiff as the Court may deem just

and equitable.

                                            JURY DEMAND

         Plaintiff demands trial by jury of all issues as of right by a jury.



Dated:           New York, New York
                 April 1, 2020
                                                 GISKAN, SOLOTAROFF & ANDERSON LLP


                                                 s/______________________
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